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 8                             UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    JENNY LOPEZ et al.,                                 Case No.: 20-CV-598-BEN(WVG)
12                                       Plaintiff,
                                                          ORDER GRANTING JOINT
13    v.                                                  MOTION TO STAY DISCOVERY,
                                                          DATES, AND DEADLINES
14    C R BARD INCORPORATED et al.,
15                                   Defendants.          [Doc. No. 28.]
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19           For good cause shown, all discovery, dates, and deadlines in the above-captioned
20    case are hereby STAYED until February 25, 2021. The parties are directed to finalize the
21    settlement and file a joint motion to dismiss as soon as possible. The parties shall file a
22    joint status report on February 26, 2021 if a joint motion to dismiss has not been filed by
23    that date.
24           IT IS SO ORDERED.
25    DATED: October 30, 2020
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                                                                               20-CV-598-BEN(WVG)
